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                                   Exhibit B

                      Schedule of ADR/ACR Eligible Claims
                                  Case:17-03283-LTS Doc#:14692-2 Filed:10/20/20 Entered:10/20/20 17:12:06                                                     Desc:
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                                                                    One Hundred and Fortieth Omnibus Objection
                                                                  Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                       ASSERTED CLAIM
    NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
1   HERNANDEZ ESCALANTE, ELENA                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      112149          Undetermined*
    PO BOX 370015
    CAYEY, PR00737

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
2   HERNANDEZ GONZALEZ, MILAGROS                                                            6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      112446              $ 8,000.00*
    C 27 CALLE ALELI PO 1554
    JUNOS, PR 00777

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
3   HERNANDEZ RODRIGUEZ, HAYDEE                                                             6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      166728          Undetermined*
    CALLE JULIA DE BURGOS BB# 17
    URBANIZACION BORINGUEN
    CABO ROJO, PR 00623

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
4   HERNANDEZ, SONIA RIVERA                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      141910          Undetermined*
    P.O. BOX 9991
    CIDRA, PR 00739

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
5   ISAAC CANALES, FELICITA                                                                 6/28/2018      17 BK 03566-LTS Employees Retirement System of the               149843          Undetermined*
    RUTA RURAL #1 BOX 35 E                                                                                                 Government of the Commonwealth
    CAROLINA, PR 00983                                                                                                     of Puerto Rico

    Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
    supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
    whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
6   ISAAC CANALES, OLGA                                                                     6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      147087          Undetermined*
    RUTA RURAL #1 BOX 35E
    CAROLINA, PR 00983

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 1 of 7
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                                                                     One Hundred and Fortieth Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
7    ISAAC CANALES, OLGA                                                                     6/28/2018      17 BK 03566-LTS Employees Retirement System of the               127631          Undetermined*
     RUTA RURAL #1                                                                                                          Government of the Commonwealth
     BOX 35 E                                                                                                               of Puerto Rico
     CAROLINA, PR 00983

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
8    ISAAC CLEMENTE, CELIA                                                                   6/29/2018      17 BK 03566-LTS Employees Retirement System of the               163465          Undetermined*
     URB SEVERO QUINONES                                                                                                    Government of the Commonwealth
     #848 COTO HERNANDEZ                                                                                                    of Puerto Rico
     CAROLINA, PR 00985

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
9    ISABEL FONSECA TORRES, MARIA                                                            6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      125324          Undetermined*
     URB. LA HACIENDA
     B1 CALLE A
     COMERIO, PR 00782

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
10   JIMENEZ MEDINA, ISABEL M.                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      120428              $ 22,000.00
     PO BOX 637
     AGUADA, PR 00602

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
11   KERCADO SANCHEZ, EDNA MARIA                                                             6/20/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      162409          Undetermined*
     D-12 CALLE C
     URB LA MILAGROSA
     BAYAMON, PR 00959

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
12   LATORRE RODRIGUEZ, JORGE L.                                                             6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      151678          Undetermined*
     LOS COLOBOS PARK C/ HUCAR #321
     CAROLINA, PR 00986

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 2 of 7
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                                                                     One Hundred and Fortieth Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
13   LAZU GARCIA, EDNA L.                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      144849              $ 15,000.00
     URB HACIENDA #19 PALOMA
     CALLE ARACANA
     LUQUILLO, PR 00773

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
14   LEBRON MARTELL, MILAGROS                                                                 7/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      159829             $ 19,200.00*
     CARR. 106 K. 9.4 INT
     HC 04 BOX 45560
     MAYAGUEZ, PR 00680

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
15   LEBRON RIVERA, NAYDA I.                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      116086          Undetermined*
     HC 64 BOX 8311
     PATILLAS, PR 00723

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
16   LEBRON SANTIAGO, JOSE DAVID                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      151265          Undetermined*
     DD13 CALLE LAGO CARITE, LEVITTOWN
     TOA BAJA, PR 00949

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
17   LEDEE RAMOS, JOSE                                                                       6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      164359          Undetermined*
     352-A STGO. IGLESIAS
     BO. COCO NUEVO
     SALINAS, PR 00751

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
18   LLANOS LLANOS, IRIS                                                                     6/28/2018      17 BK 03566-LTS Employees Retirement System of the               135996          Undetermined*
     CALLE 601 BLQ. 222 CASA # 1 URB. VILLA CAROLINA                                                                        Government of the Commonwealth
     CAROLINA, PR 00985                                                                                                     of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 3 of 7
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                                                                     One Hundred and Fortieth Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
19   LOPEZ CORTES, LUCERMINA                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      151030          Undetermined*
     15505 CALLE MAGA
     URB. PASEO DE JACARANDA
     SANTA ISABEL, PR 00757-9627

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
20   LOPEZ SANTIAGO, LYMARI                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      117543          Undetermined*
     P.O. BOX 393
     VILLALBA, PR 00766

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
21   LOZADA CRUZ, CARMEN D.                                                                  6/29/2018      17 BK 03566-LTS Employees Retirement System of the               128552          Undetermined*
     P.M.B. 382 P.O. BOX 1283                                                                                               Government of the Commonwealth
     SAN LORENZO, PR 00754                                                                                                  of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
22   LOZADA RIVERA, DORA A.                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      128770          Undetermined*
     F-16 AZULES DEL MAR
     DORADO DEL MAR
     DORADO, PR 00646

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
23   LOZADA RIVERA, DORA A.                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      137339          Undetermined*
     F-16 AZULES DEL MAR
     DORADO DEL MAR
     DORADO, PR 00646

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
24   LOZADO CRUZ, CARMEN D.                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      143830              $ 18,000.00
     P.M.B. 382 PO BOX1283
     SAN LORENZO, PR 00754

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
25   LUGO MORALES, NOEMI                                                                     6/28/2018      17 BK 03566-LTS Employees Retirement System of the               117175          Undetermined*
     PARCELAS AQUILINO #98 BO. OVEJAS                                                                                       Government of the Commonwealth
     RR 3 BOX 9412                                                                                                          of Puerto Rico
     ANASCO, PR 00610



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 4 of 7
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                                                                     One Hundred and Fortieth Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
26   LUGO MORALES, NOEMI                                                                     6/28/2018      17 BK 03566-LTS Employees Retirement System of the               120076          Undetermined*
     RR 3 BOX 9412                                                                                                          Government of the Commonwealth
     ANASCO, PR 00610                                                                                                       of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
27   LUGO TROCHE, ADA IRIS                                                                    7/3/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      146341              $ 13,800.00
     523, CALLE F. MARTINEZ DE MATOS
     URB. VILLA SUSTANITA
     MAYAGUEZ, PR 00680

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
28   MALAVE BERIO, JORGE L.                                                                   7/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      167345          Undetermined*
     HC 01 BOX 2284
     LAS MARIAS, PR 00670

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
29   MALAVE BERIO, WILLIAM EDGARDO                                                            7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      156161          Undetermined*
     PO BOX 403
     LAS MARIAS, PR 00670

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
30   MALAVE BERIO, WILLIAM EDGARDO                                                            7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      156006          Undetermined*
     P.O. BOX 403
     LAS MARIAS, PR 00670

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
31   MALDONADO GONZALEZ, LUZ LEIDA                                                            7/3/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      152301          Undetermined*
     PO BOX 330 892
     PONCE, PR 00733

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 5 of 7
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                                                                     One Hundred and Fortieth Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
32   MALDONADO NAZARIO, CELSA                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      113001          Undetermined*
     10079 BO. CAMARONES
     VILLALBA, PR 00766

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
33   MALDONADO NAZARIO, CELSA                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      112398          Undetermined*
     10079 BO. CAMARONES
     VILLALBA, PR 00766

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
34   MALDONADO NAZARIO, MARTA E.                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      117625          Undetermined*
     BO. CAMARONES 10074, CARR. 560
     VILLALBA, PR 00766-9113

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
35   MALDONADO NAZARIO, MARTA E                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      144607          Undetermined*
     BO CAMARONES 10074
     CARR 560
     VILLALBA, PR 00766-9113

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
36   MALDONADO NAZARIO, MARTA E.                                                             6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      114260          Undetermined*
     BO. CAMARONES 10074 CARR 560
     VILLALBA, PR 00766-9113

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
37   MALDONADO NAZARIO, MARTA E.                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      118543          Undetermined*
     BO. CAMARONES 10074, CARR 560
     VILLALBA, PR 00766-9113

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
38   MALDONADO PEREZ, LIZETTE                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      137962          Undetermined*
     HC-02 BOX 4468
     VILLALBA, PR 00766

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 6 of 7
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                                                                     One Hundred and Fortieth Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
39   MALDONADO PEREZ, LIZETTE                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      125564          Undetermined*
     HC-02 BOX 4468
     VILLALBA, PR 00766

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
40   MALDONADO PEREZ, LIZETTE                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      126880          Undetermined*
     HC-02 BOX 4468
     VILLALBA, PR 00766

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
                                                                                                                                                                       TOTAL                     $ 96,000.00*




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 7 of 7
